                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:06-00031-18
                                           )        JUDGE CAMPBELL
ROBERTO MANIER                             )


                                          ORDER


       Pending before the Court is a Motion to Continue Revocation Hearing (Docket No. 822).

The Motion is GRANTED.

       The hearing on the Petition for Revocation of Supervised Release (Docket No. 807)

currently scheduled for July 26, 2012, is RESCHEDULED for August 9, 2012, at 2:30 p.m.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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